         Case 1:21-cr-00053-CJN         Document 157         Filed 11/05/24      Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

    v.
                                                            Case No. 1:21-cr-00053-CJN
EDWARD JACOB LANG,

   Defendant.




                 NOTICE OF FILING PROPOSED SCHEDULING ORDER

         The United States of America, through undersigned counsel, and respectfully provides

notice as follows regarding this Court’s instruction directing the parties to file a revised scheduling

order based on a December 2, 2024 trial date:

         1.   On November 4, 2024, chambers sent instructions to the parties to file a revised

proposed scheduling order by 5:00 p.m. on November 5, 2024.

         2.    The government’s proposed revised scheduling order is attached to this notice.

         3.   Since receiving instructions from chambers, the government attempted to confer with

opposing counsel about the revised schedule but has been unable to do so. Accordingly, the

attached represents the government’s version of a proposed scheduling order.

                                               Respectfully submitted,

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                                               UNITED STATES ATTORNEY
                                               D.C. Bar No. 481052

                                                /s/ Karen Rochlin
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Case 1:21-cr-00053-CJN   Document 157   Filed 11/05/24   Page 2 of 2




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